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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MAINE

    MICHELLE MACDONALD,          )
                                 )
         Plaintiff,              )
                                 )
    v.                           ) Civil Action No. 1:22-cv-00024-NT
                                 )
    BREWER SCHOOL DEPARTMENT, et )
    al.,                         )
                                 )
         Defendants.             )


      REPLY IN SUPPORT OF DEFENDANT BREWER SCHOOL DEPARTMENT’S
             MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

         Defendant Brewer School Department (“School Department”) hereby submits this reply to

Plaintiff’s Objection (ECF No. 12) to its Motion to Dismiss (ECF No. 8).

                                                   ARGUMENT

I.       Allegations Occurring Before January 3, 2019 Are Untimely

         In her Objection, Plaintiff attempts to save her allegations of conduct occurring before

January 3, 2019 on two fronts, neither of which have merit. First, she tries to move the lookback

period from January 3, 2019 (300 days after she filed her complaint with the Maine Human

Rights Commission) to December 13, 2018 (300 days after she filed an intake questionnaire with

the Human Rights Commission). Filing an intake questionnaire, however, is not the same as

filing a complaint, as the Maine Human Rights Commission itself recognizes. See Instructions,

Human Rights Commission, State of Maine, https://www.maine.gov/mhrc/file/instructions (last

accessed May 25, 2022) (“completing the Intake Questionnaire does not necessarily mean that a

complaint of discrimination has been filed”).1 Plaintiff’s complaint was filed with the MHRC on



1
  The only authority Plaintiff provides for her argument that an intake questionnaire is a “complaint” is a citation to
the 94-348 C.M.R. Ch. 2 § 2.02(F) (2014). That regulation, however, provides only that a complaint, once made,
may be amended. It does not provide that an initial intake questionnaire is a complaint.

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October 29, 2019, Compl. ¶ 29, so any allegations of conduct occurring more than 300 days

before then are untimely.

       Second, she argues that everything pled in the Complaint, including all of the allegations

occurring back in 2018 are timely because they are part of a continuing violation. Under the

continuing violation doctrine, the issue is “whether the acts about which an employee complains

are part of the same actionable hostile work environment practice, and if so, whether any act falls

within the statutory time period.” Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 120

(2002). Here, Plaintiff has failed to plausibly plead such a practice. Plaintiff’s allegations

through December 2018 are that Ms. Pelletier was hostile and stopped responding to her emails

following disagreements about when and how to include the GSA in the yearbook, that Mr.

Wellman’s comments offended her, that Ms. Ward-Downer was confused and uncomfortable in

a discussion of LGBTQ+ issues, and that Mr. Slowikowski told her she was “too close to the

issue” in regards to LGBTQ+ rights. Compl. ¶¶ 48-52, 55, 59-61, 63-70, 75, 78-81, 88. The post-

December 2018 allegations are different: Plaintiff alleges that Mr. Wellman and Ms. Pelletier

lodged a retaliatory internal complaint against her and she was in turn reprimanded for her

behavior, despite a finding that she had not intentionally engaged in confrontational behavior,

and that Ms. Pelletier, Ms. Ward-Downer and Mr. Slowikowski failed to have perfect email

communication with her, teachers falsely accused her of turning them in. Compl. ¶¶ 103-112,

129-30, 137, 139-40, 141, 142, 145, 146, 152, 155. Plaintiff’s claims, therefore, must be limited

to acts allegedly occurring before January 3, 2019.

       II.     Plaintiff’s Discrimination Claims Should Be Dismissed

       Plaintiff’s discrimination claims against the School Department are based on two

theories: (1) that she was subjected to a hostile environment based on sex; (2) that she suffered

adverse employment action because of sex and/or for opposing discriminatory employment


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practices. See Compl. Counts I and II. As set forth more fully in Brewer’s initial memorandum

and below, all of these claims should be dismissed for failure to state a claim.

       A.      Hostile Environment

       As pled in the Complaint and further explained in Plaintiff’s Opposition, Plaintiff’s

hostile environment claim is based on the allegation that she was subjected to a hostile work

environment because of her association with her transgender child and/or because of her

advocacy for LGBTQ+ students at Brewer High School.

       First, even assuming Plaintiff has pled sufficient facts to support an associational

discrimination claim, which, as set forth in the School Department’s initial memorandum, she

has not, this claim should be dismissed because, beyond her conclusory statements in paragraphs

150 and 158 of the Complaint, Plaintiff has failed to plead that the allegedly hostile environment

was because of her protected status, i.e. her association with her child and/or LGBTQ+ students.

What Plaintiff has pled, as identified in her Opposition, is that she has a transgender child and

has advocated for LGBTQ+ students; that people have said things she finds offensive; and that

people have been unkind to her. See Plaintiff’s Opposition at 8. What she has not pled are facts

that would support an inference that any of this conduct – even if actionable as harassment – was

because she has a transgender child or because she has advocated for LGBTQ+ students.

       Plaintiff’s Opposition makes it clear is that the real reason she considers her work

environment to be harassing is because she found viewpoints expressed to her by different

people over a two year period to be insensitive to LGBTQ+ individuals. Thus, the “extensive

examples of offensive comments” she identifies in her Opposition are as follows: Compl. ¶ 48

(some teachers in the school used deadnames and former pronouns of transgender students); ¶¶

50 - 52 (Towle stated that younger children might change their mind and appeared

uncomfortable when Plaintiff referred to her transgender child); ¶ 55 (Pelletier said the GSA was


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a support group); ¶¶ 59-61 (a colleague said Plaintiff was influencing students with her beliefs);

¶ 75 (Wellman asked to send students to a presentation to analyze the speaker’s rhetoric); ¶¶ 95-

96 (examples of students saying derogatory things about transgender students); ¶ 134 (student

tried to engage Plaintiff in debate about discrimination of heterosexual men). Not one of these

allegations pertains to Plaintiff’s association with her child or LGBTQ+ students. Indeed, with

the single exception of the accusation that she was imposing her views on students, none of these

allegations have anything whatsoever to do with Plaintiff. The same is true virtually all of the

other paragraphs of the Complaint she cites to in support of her argument that the environment

was hostile.

        Second, Plaintiff has failed to plead actionable harassment that is severe and pervasive.

Plaintiff is correct that there is no precise test for determining when conduct rises to the level of

actionable harassment, but as the First Circuit has cautioned, this is “[s]ubject to some policing at

the outer bounds,” by the court. Marrero v. Goya of Puerto Rico, Inc., 304 F.3d 7, 19(1st Cir.

2002) quoting Gorski v. N.H. Dep't of Corrections, 290 F.3d 466, 474 (1st Cir.2002).

        Here, the conduct Plaintiff alleges has crossed those outer bounds as is demonstrated by

comparing the allegedly harassing conduct Plaintiff identifies in her opposition with conduct in

cases involving actual workplace harassment. For example, compare the “verbal attacks”

identified by Plaintiff at Compl. ¶¶ 57, 1022 with the often vulgar and crude derogatory name

calling found actionable in Marrero, 304 F.3d at 20 (yelling at Plaintiff in front of coworkers)

and Rosario v. Dep’t of Army, 607 F.3d 241, 247 (1st Cir. 2010) (referring to “humiliating,

offensive comments” as verbal attacks); the “work sabotage” identified by Plaintiff at Compl. ¶¶

57, 139-40, 142 with things physical destruction of work product, tampering with work samples



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 It is not clear whether the student’s alleged rude and disrespectful outburst even occurred on school grounds.
Regardless, the implications of considering teenager’s outbursts as constituting a hostile work environment would be
immeasurable.

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or creating physical barriers to ability to perform in Betancourt-Esquerdo v. Union

Internacional United Auto Workers CITE (D.P.R. Aug. 17, 2006) (tampering with work

samples); Olivieri v. Abbot Lab’ys CITE (D.P.R. Mar. 19, 2008) (putting a buggy on a crate and

blocking other buggies); the “ostracization” identified by Plaintiff in Compl. ¶¶ 57, 137 with

the outright exclusion in Williams v. Gen. Motors Corp., 187 F.3d 553, 559 (6th Cir. 1999)

(single employee not porvided a key to the office and was the only person to be denied a break).

In short, Plaintiff’s allegations of harassment simply do not pass a “threshold of severity”. See

Flood v. Bank of Am. Corp., 780 F.3d 1, 12 (1st Cir. 2015).

       Third, Plaintiff has not alleged that any of the conduct unreasonably interfered with her

work performance. See Ayala-Sepulveda v. Municipality of San German, 671 F.3d 24, 31 (rejecting

hostile work environment claim because no evidence that work performance suffered); Kosereis

v. Rhode Island, 331 F.3d 207, 216-17 (1st Cir. 2003). Plaintiff remains employed with the School

Department and her conclusory statements of adverse effect on her employment are insufficient

to plausibly state a claim for hostile environment harassment. Alston v. Spiegel, 988 F.3d 564, 571

(1st Cir 2021).

       B.         Adverse Action

       Plaintiff also includes claims against the School Department for direct discrimination based

on her allegation that her supervisors, Towle, Palmer, Slowikowski and Ward-Downer, alleged

took adverse action against her because of her association with her child/and or advocacy for

LGBTQ+ student and/or her the discrimination complaints she made internally and to the MHRC.

With regard to liability for the alleged adverse employment actions, Plaintiff fails to mention in

her Opposition that she was appointed Curriculum Leader in 2018-2019, following GSA yearbook

meetings, Ms. Pelletier’s hostility and Mr. Wellman’s offensive comments, and her own April

2018 hostile work environment complaint. Compl. ¶¶ 124, 149, 151. Based on those facts, and in


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the absence of other specific allegations upon which discriminatory intent could be inferred, the

decision more than a year later, and immediately following a complaint filed against Plaintiff

(which is itself protected conduct) cannot support a claim for discrimination against the School

Department.

       With respect to the alleged reprimand, Plaintiff nowhere alleges that it did or could

conceivably have “materially changed conditions of plaintiff’s employ.” Burns v. Johnson, 829

F.3d 1 (1st Cir. 2016). Indeed, King v. Bangor Fed. Credit Union, 611 A.2d 80, 82 (Me. 1992),

the case Plaintiff relies upon to support her contention that the reprimand constitutes adverse

action, proves the point. There the employee suffered tangible economic loss by being assessed a

fine, whereas here, the vice principal told Plaintiff that while she did not realize she was coming

off as rude, her coworkers perceived her that way. Compl. ¶¶ 129-30. Such a statement does not

amount to adverse action.

           III.    The Section 1983 Claims (Counts IV-XV) Should Be Dismissed.

       Plaintiff’s section 1983 claims must fail because she has not alleged, or argued, the

existence of a policy or custom for which the School Department can be held liable. Plaintiff

seems to be arguing that because she has named the Individual Defendants in their official

capacities, this allows her to pursue an institutional claim without meeting the Monell standard.

That is not the case.

       The difference between individual capacity suit and official capacity suits was explained

by the United States Supreme Court in Kentucky v. Graham, 473 U.S. 159, 166 (1985):


        On the merits, to establish personal liability in a § 1983 action, it is enough to show that
       the official, acting under color of state law, caused the deprivation of a federal right.
       See, e.g., Monroe v. Pape, 365 U.S. 167, 81 S.Ct. 473, 5 L.Ed.2d 492 (1961). More is
       required in an official-capacity action, however, for a governmental entity
       is liable under § 1983 only when the entity itself is a “ ‘moving force’ ” behind the
       deprivation, Polk County v. Dodson, 454 U.S. 312, 326, 102 S.Ct. 445, 454, 70 L.Ed.2d
       509 (1981) (quoting Monell, supra, 436 U.S., at 694, 98 S.Ct., at 2037); thus, in

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       an official-capacity suit the entity's “policy or custom” must have played a part in the
       violation of federal law. Monell, supra; Oklahoma City v. Tuttle, 471 U.S. 808, 817–818,
       105 S.Ct. 2427, 2433, 85 L.Ed.2d 791 (1985); id., at 827–828, 105 S.Ct., at 2437, 2438
       (BRENNAN, J., concurring in judgment)

       In her Opposition, Plaintiff argues that the individuals were the “moving force” but does

not identify a policy or custom that caused her injury. Bd. of Cnty. Comm’rs of Bryan Cnty., Okl.

v. Brown, 520 U.S. 397, 416–17 (1997); Monell v. Dep’t of Soc. Serv. Of City of N.Y., 436 U.S.

658, 694 (1978); see also Haley v. City of Bos., 657 F.3d 39, 51 (1st Cir. 2011). Here Section 983

claims against the School Department must therefore be dismissed.

                                          CONCLUSION

       For the reasons stated above and in its Motion to Dismiss (ECF No. 8), Defendant Brewer

School Department respectfully requests that the Court grant its motion and dismiss all claims

raised against it in Plaintiff’s Complaint pursuant to Rule 12(b)(6) for failure to state a claim upon

which relief can be granted.



Dated: June 3, 2022                            /s/ Melissa A. Hewey
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